      Case 3:03-cr-00127-LC-MD            Document 426       Filed 10/30/06   Page 1 of 1


FLN (Rev. 4/2004) Deficiency Order                                                    Page 1 of 1
3:03cr127LAC - UNITED STATES OF AMERICA vs. ROBERT PETTWAY


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

       vs                                              Case No.3:03cr127LAC

ROBERT PETTW AY




                                              ORDER

Your document, LETTER RE EXTENSION OF TIME ON MY C.O.A., was referred to
the undersigned with the following deficiencies:

       The document does not have a Certificate of Service as required by Rule
       5(b) and (d) of the Federal Rules of Civil Procedure, showing proper
       service.

       Your document is not properly captioned for this court. Every paper you
       file must have the name of this court, the case style, the case number and
       the title of your pleading. The body of your pleading should state the
       nature of your request and what you want the court to do for you.

For these reasons, IT IS ORDERED that the document shall remain in the electronic
file, but no further pleadings will be accepted unless they comply with NORTHERN
DISTRICT OF FLORIDA local rules.

DONE and ORDERED this 30th day of October, 2006.



                                               s /L.A. Collier
                                               LACEY A. COLLIER
                                               SENIOR UNITED STATES DISTRICT JUDGE
